                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                          WESTERN DIVISION
                                          No. 5:22-CV-00302-FL

 KIMBERLI LEWIS on Behalf of                                                )
 Herself and Others Similarly Situated,                                     )
                                                                            )
                                     Plaintiff,                             )
                                                                            )
 v.                                                                         )
                                                                            )
 EQUITYEXPERTS.ORG, LLC,                                                    )
                                                                            )
                                     Defendant.                             )
                                                                            )


       PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
       DISMISS ALL CLAIMS, OR, IN THE ALTERNATIVE, TO STRIKE CLAIMS


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       Plaintiff Kimberli Lewis (“Plaintiff”) hereby submits this Memorandum in Opposition to

the Motion to Dismiss All Claims, or, in the Alternative, to Strike Claims (DE 16) of Defendant

EquityExperts.org, LLC, (“EquityExperts” or “Defendant”).

                                        INTRODUCTION

       Defendant EquityExperts fundamentally misunderstands—or just ignores—the nature of

Plaintiff’s straightforward claims.

       To be clear, Plaintiff neither challenges Defendant’s ability to “impose costs of collection,”

seeks to “undo [any] contractual burdens,” nor deems any contract between Defendant and the

Association “void and unenforceable.” (Def.’s Mem. (DE 17) pp. 1-2). Plaintiff alleges first that

Defendant’s “costs”—such as $6,035.00 in costs and attorneys’ fees on a debt of $314.00—are

illusory, grossly excessive, arbitrary, and unreasonable. (Compl. (DE 1-2) ¶ 50, 77-78). These

attorneys’ fees and costs are not “reasonable” as required by the Planned Communities Act

(“PCA”), N.C.G.S. §47F-3-116, and have no relationship whatsoever to the cost of collecting debt.

(Id. ¶¶ 50, 54, 77-78). Charging and collecting these unlawful “costs” violates the FDCPA and

North Carolina’s state unfair debt collection laws. See e.g., White v. Fein, Such & Crane, LLP,

2015 WL 6455142 at *5 (W.D.N.Y. Oct. 26, 2015) (To the extent “the fees sought are

unreasonable, exceed the customary costs for such work, or represent work not actually performed,

they are not ‘permitted by law’ and the attempt to collect such fees [is a] violation of [15 U.S.C. §

1692f(1)].”); N.C.G.S. § 58-70-115(2) (prohibiting “collect[ing] any interest or other charge, fee

or expense incidental to the principal debt unless legally entitled…”); N.C.G.S. § 75-55(2) (same).

       Nor does Plaintiff challenge Defendant’s ability to send collection letters in general; in

fact, notices of intent to foreclose are required under North Carolina law (though Defendant failed

to meet the statutory requirements of said notice). Plaintiff argues second that Defendant’s utilizes



                                                 1

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a false deadline in the Notice of Intent as a means to collect the unlawful fees. (Compl. (DE 1-2)

¶¶ 95, 101, and 107) (outlining the statutory prohibitions Defendant has violated)). See e.g.,

Koepplinger v. Seterus, Inc., No. 1:17CV995, 2020 WL 2063416, at *25 (M.D.N.C. Apr. 29,

2020), report and recommendation adopted sub nom. Koepplinger v. Seterus, Inc., No. 1:17-CV-

995, 2020 WL 5705915 (M.D.N.C. Aug. 26, 2020) (Defendant’s misrepresentations about “the

impact of a partial payment and the date by which Defendant could commence acceleration or

foreclosure,” violate the FDCPA and NCDCA.).

       Separate and apart from its debt collection efforts, Plaintiff alleges Defendant’s scheme

with HOAs to extort illusory fees and costs from homeowners is an unfair and deceptive trade

practice under N.C.G.S. § 75-1.1 et seq. (Compl. (DE 1-2) ¶¶ 110-118). See e.g., In re Freeway

Foods of Greensboro, Inc., 467 B.R. 853, 866 (Bankr. M.D.N.C. 2012). Moreover, Defendant has

been unjustly enriched by receiving payment from homeowners for charges which homeowners

are not lawfully responsible for or required to pay. (Compl. (DE 1-2) ¶¶ 26-27). See Rhue v. Rhue,

189 N.C. App. 299 (2008).

       Defendant’s Motion must be denied because Plaintiff has sufficiently pled class claims

under 15 U.S.C. § 1692 et seq. (“FDCPA”), N.C.G.S. § 58-70 et seq. (“NCCAA”), N.C.G.S. § 75-

50 et seq. (“NCDCA”), and N.C.G.S. § 75-1.1 et seq. (“UDTPA”).

                         FACTS ALLEGED IN THE COMPLAINT

       Defendant’s business consists primarily of contracting with homeowners’ associations

(“HOAs”) to collect debts from homeowners. (Compl. (DE 1-2) ¶ 2). Plaintiff and each member

of the putative classes own residential homes maintained for personal, family, household, or

agricultural purposes. (Id. ¶ 11). These homes are uniformly subject to the covenants of their

respective HOAs. (Id. ¶ 23). Plaintiff and each member of the putative classes were alleged to have



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had debts arising out of their respective covenants, which their HOAs referred to Defendant for

collections. (Id. ¶ 25).

        After an account is referred to Defendant, Defendant proceeds to assess additional charges

for “costs” and “attorneys’ fees.” (Id. ¶ 26). Defendant assesses these charges continually,

sometimes multiple times per month. (Id.). If consumers fail to pay the ever-increasing charges

assessed by Defendant, a lien is threatened and may be filed against their property. (Id. ¶¶ 30-33).

        The Association referred Plaintiff’s account to Defendant on or after February 2019. (Ex.

2 (DE 17-2)). Beginning in March 2019, Defendant repeatedly contacted Plaintiff regarding the

amount allegedly owed to the Association; each time Defendant contacted Plaintiff, another charge

was added to Plaintiff’s account. (Id.). Defendants contacted Plaintiff no less than four times

between March and April 2019. (Id.). On March 10, the day before Defendant’s first contact,

Plaintiff’s balance was $209.00; a few weeks later, on April 29, it was $1,307.00. (Id.). The

Association’s assessments during that period totaled only $78.00. (Id.).

        By September 2021, Defendant had charged Plaintiff nineteen times. (Compl. (DE 1-2) ¶

48). Since March 2019, Defendant had assessed ten (10) separate “debtor outreach” charges. (Ex.

2 (DE 17-2)). Defendant’s first “escalated” outreach charge totaled $350.00; three subsequent

“escalated” outreach charges were $100.00 each. (Id.). Defendant also assessed six “extended”

outreach charges at $25.00 each, for a total of $150.00. (Id.) Defendant’s total claimed incurred

costs for “debtor outreach” totaled $800.00. (Id.). Defendant also assessed specific charges for

“dunning letter,” “Lien North Carolina,” and “foreclosure referral fee,” totaling $4,110. (Id.). The

“lien North Carolina” charge was accompanied by a $150.00 “attorney fee.” (Id.).

        On or about September 16, 2019, Defendant added a $395.00 charge labeled “Lien North

Carolina” and $150.00 charge labeled “Attorney Fee for Jorge C.” (Id.). Defendant did not actually



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prepare or file the lien for Plaintiff’s property until on or about November 1, 2019, despite having

charged Plaintiff in September. (Compl. (DE 1-2) ¶ 42).

       Plaintiff’s September 2021 balance totaled $6,349.00. (Id. ¶ 50). Only $314.00 originated

with the Association; the remaining $6,035.00 are fees from Defendant for their debt collection

services—nearly twenty-times the amount of the original delinquency. (Id.).

       In connection with their collection attempts, Defendant utilizes a form letter (the “Notice

of Intent”). (Id. ¶¶ 2-4). The Notice of Intent “(1) contains a false and arbitrary deadline for

payment under threat of foreclosure, creating a false sense of urgency and limits consumers’ ability

to evaluate and respond to the Notice of Intent; and (2) demands the payment of unlawful, grossly

excessive, and arbitrary attorneys’ fees and costs that grossly exceeds the amount authorized and

allowed under North Carolina law.” (Id. ¶ 4).

       On or about August 26, 2021, Defendant sent Plaintiff a Notice of Intent. (Ex. 1 (DE 17-

1)). In the Notice of Intent, Defendant stated that to avoid foreclosure, Plaintiff “must pay all

amounts due to the Creditor by 09/25/2021,” with the HOA listed as the creditor. (Id.). The Notice

of Intent further stated the amount secured under the lien was $2,810.00, and the total amount due

to the creditor was $6,339.00. (Id.). Defendant wrote “failure to satisfy the debt secured by the lien

on or before the date stated herein may result in the sale of the Property.” (Id.)

       The deadline contained in the Notice of Intent is designed to scare consumers into paying

the unlawfully inflated costs and attorneys’ fees demanded by Defendant. (Id. ¶¶ 30-33). The

Notice of Intent creates a false sense of urgency because Defendant cannot lawfully “sell the

Property” upon expiration of the arbitrary deadline. (Id.). Plaintiff and putative class members each

received at least one Notice of Intent letter during the applicable statute of limitations period with

the same misleading threat of foreclosure. (Id. ¶ 71).



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                                     LEGAL STANDARDS

I.     RULE 12(b)(6) MOTION TO DISMISS.

       A motion to dismiss pursuant to Rule 12(b)(6) should be denied unless “it appears certain

that the plaintiff cannot prove any set of facts in support of his claim entitling him to relief.”

Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999). The moving party bears the

burden of proving no claim has been stated. Animal Science Products, Inc. v. China Minmetals

Corp., 654 F.3d 462, 469 n. 9 (3d Cir. 2011).

II.    RULE 12(f) MOTION TO STRIKE.

       Federal Rule of Civil Procedure 12(f) allows a court to “strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ.

P. 12(f). When viewing Rule 12(f) and Rule 23 in tandem, courts rarely make a class determination

at the pleading stage. See, e.g., Williams v. Potomac Family Dining Grp. Operating Co., LLC, No.

GJH-19-1780, 2019 WL 5309628, at *5 (D.Md. 2019) (unpublished). A motion to dismiss a

complaint’s class allegations should be granted only if “it is clear from the face of the complaint

that the plaintiff cannot meet Rule 23’s requirements for certification because the plaintiff has

failed to properly allege facts sufficient for a class.” Hogans v. Charter Communs., Inc., 563 F.

Supp 3d 464, 472 (E.D.N.C. 2021); Williams at *5. Rather than dismiss class allegations at the

pleadings stage, courts normally allow for pre-certification discovery before making a certification

decision under Rule 23(c)(1). See Goodman v. Schlesinger, 584 F.2d 1325, 1332 (4th Cir. 1978).




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                                              ARGUMENT

I.        DEFENDANT HAS NOT IDENTIFIED ANY BASIS JUSTIFYING DISMISSAL
          UNDER FED. R. CIV. P. 12(b)(6).

          As noted above, Plaintiff’s claims arise out of (1) Defendant’s charging and collecting

grossly excessive amounts of attorneys’ fees or other amounts with no relationship whatsoever to

any “cost” of collection and; (2) Defendants’ usage of misleading and false letters as a means to

collect those unlawful fees. These allegations, if proven, constitute viable claims under the

FDCPA, NCDCA/NCCAA, and UDTPA, as well as a common law claim for unjust enrichment.

(Compl. (DE 1-2) ¶¶ 95, 101, 107).

          Defendant provides various scattershot arguments for dismissal, which can generally be

condensed as follows: (1) all claims are subject to dismissal under their respective statute of

limitations (Def.'s Mem. (DE 171) p. 10-13); (2) Defendant is not subject to the PCA 1, FDCPA,

NCCAA, or NCDCA ( Id. p. 5); (3) Defendant did not violate the FDCPA, NCCAA, or NCDCA

(Id. pp. 15-23); (4) Plaintiff’s UDTPA claim is wholly subsumed by the NCCAA/NCDCA (Id. p.

14)); and (5) Plaintiff’s unjust enrichment claim fails because there is an express contract (Id. pp.

15-17).

          Finally, Defendant purportedly moves to strike the class allegations as being insufficient

to satisfy Rule 23’s commonality and superiority requirements. (Id. pp. 23-24).

          A.     Plaintiff’s Claims are Not Barred by Any Operative Statute of Limitations.

          Defendant argues that Plaintiff’s claims “appear to be barred” by the applicable statutes of

limitation 2 while admitting it is “unable to determine” whether any claim is “wholly or just




1
 The “PCA” refers to the North Carolina Planned Community Act, N.C.G.S. § 47-1-101, et. seq.
2
 Plaintiff has not made a claim for breach of contract, yet Defendant argues curiously that Plaintiff’s claims
should be analyzed under statute of limitations case law for breach of contract. ((DE 17) pp 11-13).

                                                      6

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partially barred by the statute of limitations.” (Id. p. 10). This admission alone requires denial of

Defendant’s Motion to Dismiss. See e.g., Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir.

2007) (“the Court may dismiss claims as time barred only when it is clear from the facts and

allegations on the face of the complaint...”).

       Defendant also argues that Plaintiff’s debt collection claims are time-barred because her

first cause of action may have accrued outside of the statute of limitations. (Id. at p. 12). Even if

Plaintiff did receive Notice of Intent Letters outside of the statute of limitations, the Fourth

Circuit’s recent decision in Bender v. Elmore & Throop, P.C. confirms that later violations—like

the Notice of Intent Letter 3—trigger a new limitations period. The FDCPA never suggests

“similar” violations be “grouped together and treated as a single claim” for purposes of the statute

of limitations. Bender, 963 F.3d 403, 406 (4th Cir. 2020) (“a ‘separate violation’ of the FDCPA

occurs ‘every time’ an improper communication, threat, or misrepresentation is made.”).

       To be clear, Plaintiff’s claims are only pursued on behalf of herself and other consumers

who were (a) sent the unlawful Notice of Intent, or (b) charged and illegally pursued for illegal

costs or attorneys’ fees during the FDCPA’s one year statute of limitations under 15 U.S.C. §

1692k(d); the NCCAA’s and unjust enrichment claims’ three-year statute of limitations under

N.C.G.S. § 1-52(2); and the four-year statutes of limitations for NCDCA and UDTPA claims under

N.C.G.S. § 75-16.2. (See e.g., Compl. (DE 1-2) ¶ 80). Plaintiff’s claims as pled in the Complaint

are plainly timely.

    B. Defendant is Subject to the FDCPA and either the NCCAA or the NCDCA. 4

       1. Legal Standard.

3
 August 26, 2021, Notice of Intent. (Ex. 1 (DE 17-1)).
4
 Courts interpreting the NCCAA/NCDCA look to cases interpreting the FDCPA. See Reid v. Ayers, 531
S.E.2d 231, 233 (N.C. App. 2000) (comparing the provisions of the NCDCA with the language of the
FDCPA). Because of their similarities, Plaintiffs are collectively addressing Defendants FDCPA, NCCAA,
and NCDCA arguments. ((DE 17) pp. 14-15, 23) (Defendant’s third and fifth arguments).

                                                  7

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        To prevail under the FDCPA, a plaintiff must show (1) she is a “natural person obligated

or allegedly obligated to pay any debt,” 15 U.S.C. § 1692a(3); (2) the “debt” arises out of a

transaction entered primarily for personal, family, or household purposes, 15 U.S.C. § 1692a(5);

(3) the defendant is a “debt collector,” within the meaning of 15 U.S.C. § 1692a(6); and (4) the

defendant violated a provision of the FDCPA. Truhn v. Equityexperts.org, LLC, 418 F. Supp. 3d

186, 190 (E.D. Mich. 2019) (granting partial summary judgment against EquityExperts under the

FDCPA).

        To prevail under the NCCAA, a plaintiff must show (1) the defendant is a “collection

agency” 5 and (2) the defendant engaged in conduct prohibited by the Act. N.C.G.S. § 58-70-15(a).

In the alternative to claims arising under the NCCAA, Plaintiff has stated a NCDCA claim pursuant

to which she must allege: (1) the purported obligation is a “debt;” (2) she is a “consumer;” and (3)

Defendant is a “debt collector.” Campbell v. Wells Fargo Bank, N.A., 73 F. Supp. 3d 644, 649

(E.D.N.C. 2014). After satisfying these threshold requirements, a plaintiff asserting claims under

the NCDCA must plausibly allege the general elements of an unfair and deceptive trade practices

claim under North Carolina law: an unfair act, in or affecting commerce 6, proximately causing

injury. Id.

    2. Plaintiff and Class Members are “Consumers” Under the FDCPA and NCDCA. 7

        A “consumer” under the FDCPA is a natural person allegedly obligated to pay a consumer

debt. 15 U.S.C. § 1692a(3). Similarly, a “consumer” under the NCDCA is “any natural person who

has incurred a debt or alleged debt for personal, family, household or agricultural purposes.” Reid


5
  Defined as persons “directly or indirectly engaged in soliciting, from more than one person… delinquent
claims of any kind owed or due or asserted to be owed or due the solicited person and all persons directly
or indirectly engaged in the asserting, enforcing or prosecuting of those claims.” N.C.G.S. § 58-70-15(a).
6
  Defendant does not dispute its actions were in or affecting commerce.
7
  The NCCAA is not limited to “consumer debts.” N.C.G.S. § 58-70-15(a).

                                                    8

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v. Ayers, 138 N.C. App. 261, 264-265 (2000). Plaintiff has plainly alleged that she and putative

class members are consumers under each statute. (Compl. (DE 1-2) ¶¶ 11-15, 23, 25, 89) (alleging

Plaintiff and the putative class “are natural persons allegedly obligated to pay a consumer debt”

“incurred in connection with covenants appurtenant to the houses maintained by Plaintiff and each

member of the proposed class for personal, family, household, or agricultural purposes.”).

    3. Assessments, Fees, and Charges are “Debt” Under the FDCPA and NCCAA/NCDCA.

        “Since [1997] nearly every court, state or federal, that has considered the issue has

concluded that association dues, assessments, and rents are properly classified as debt.” Reid at

264-265 (collecting cases). The North Carolina Court of Appeals has repeatedly held “[HOA] dues

and assessments are ‘debts’ within the meaning of the [NCDCA].” Davis Lake Cmty. Ass’n, Inc.

v. Feldmann, 138 N.C. App. 292, 295 (2000) (citing Reid at 263). Moreover, district courts across

the country have specifically held that Defendant’s attempts to collect association dues and

assessments are subject to the FDCPA. See e.g., Truhn at 192; Cross v. Equityexperts.org, LLC,

2021 WL 5279412, at *9 (11th Cir. 2021).

        Despite this clear authority, Defendant argues the assessments, fees, and charges it has

attempted to collect are not “debt” under the FDCPA 8 and NCDCA 9. However, Plaintiff plausibly

alleged that she and members of the putative class owed a debt (as defined by the FDCPA at 15

U.S.C. § 1692a(5)) “incurred in connection with covenants appurtenant to the houses maintained

by Plaintiff and each member of the proposed class for personal, family household or agricultural

purposes,” and these “alleged debts were treated as delinquent when referred to Defendant for



8
  “Debt,” as defined by the FDCPA is “any obligation or alleged obligation of a consumer to pay money
arising out of a transaction in which the money, property, insurance, or services which are the subject of
the transaction are primarily for personal, family, or household purposes.” Reid at 263.
9
  “Debt” as defined by the NCDCA is “any obligation owed or due or alleged to be owed or due from a
consumer.” Reid at 263.

                                                    9

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collection.” (Compl. (DE 1-2) ¶¶ 10-12). These allegations readily satisfy this element of the

FDCPA and NCDCA.

     4. Defendant is a “Debt Collector” Under the FDCPA.

        Defendant argues it is not a “debt collector” under the FDCPA 10 “because it is the creditor

that allegedly seeks to recover its own debts, in its own name,” therefore it qualifies for the

statutory exclusion from liability in 15 U.S.C. § 1962a(6). 11 (Def.’s Mem. (DE 17) p. 19).

Although Defendant attempts to assess its purported collection costs and fees from consumers,

such costs and fees are owed to Defendant by the respective HOAs, not the consumers directly.

Thus, as other courts have held, Defendant acted as a debt collector under the FDCPA for the

HOAs of Plaintiff and class members. See e.g., Truhn at 192; Cross at *9.

        Relying on Obduskey, Defendant further argues it is not a “debt collector” because the

Notice of Intent was sent in furtherance of a non-judicial foreclosure. (Def.’s Mem. (DE 17) p.

19). However, the facts of this case are distinguishable from Ombudskey—Defendant “falls within

the primary definition’s scope” because it is a “person … in any business the principal purpose of

which is the collection of any debts...” Obduskey v. McCarthy & Holthus LLP, 139 S.Ct. 1029,

1031 (2019).

         Plaintiff’s Complaint specifically alleges “Defendant’s business consists of contracting

with [HOAs] to aggressively contact and attempt to collect debt.” (Compl. (DE 1-2) ¶ 2). Although




10
   15 U.S.C. § 1692a(6) defines a “debt collector” as “ any person [using] any instrumentality of interstate
commerce or the mails in any business [for the principal purpose of the collection of any debts], or who
regularly collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
due another.”
11
   Defendant’s argument that it is collecting its own debts lends credibility to the allegation that Defendant
attempts to collect amounts in excess of the actual costs of collection since it apparently does not expect
HOAs to ever pay those costs or fees directly.

                                                     10

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the Notice of Intent is sent, in part, in connection with a potential non-judicial foreclosure, it is

also sent for the purpose of attempting to collect debt, including purported collection costs.

         The Notice of Intent does not merely communicate statutorily required notices to

consumers (in fact, it fails to do so consistent with statutory requirements 12); rather, it specifically

demands payment of all amounts owed, including fees and costs that are not secured by the lien.

(Id. ¶ 53). Courts across the country have held similar misrepresentations in notices of intent to

accelerate loans are actionable under the FDCPA. See e.g., Koepplinger v. Seterus, Inc., 2020 WL

2063416 (M.D.N.C. 2020) (awarding partial summary judgment under the FDCPA to the

Plaintiff); Peebles v. Seterus, Inc., 2019 WL 4464126 (E.D. Cal. 2019). Whether the Notice of

Intent is limited to efforts to effectuate a non-judicial foreclosure or goes further to attempt to

collect debt is a question for a jury under the circumstances. Heinz v. Carrington Mortgage

Services, LLC, 3 F.4th1107, 1111 (8th Cir. 2021).

     5. Defendant is a “Collection Agency” under the NCCAA; or, Alternatively, a “Debt
        Collector” under the NCDCA.

         Defendant readily admits it is “a collection agency” under the NCCAA (Def.’s Mem. (DE

17) p. 17, n. 13), then contradictorily argues it is not a collection agency because “it is the creditor

that allegedly seeks to recover its own debts, in its own name.” (Id. p. 19). Plaintiff agrees—

Defendant cannot be subject to both the NCCAA and the NCDCA; but stated these claims in the

alternative to avoid such gamesmanship. Simmons v. Dross Lieberman & Stone, Inc., 746 S.E.2d



12
   N.C.G.S. § 47F-3-116(f)(5) requires that “prior to the commencement of a nonjudicial foreclosure, the
association shall give to the lot owner notice of the association’s intention to commence a nonjudicial
foreclosure to enforce its claim of lien.” “The notice shall contain the information required in G.S. 45-
21.16(c)(5a).” N.C.G.S. § 47F-3-116(f)(5). N.C.G.S. § 45-21.16(c)(5a) requires (1) notice, that, within 30
days of the date of the notice, the debtor was sent … a detailed written statement of the amount of principal,
interest, and any other fees…” N.C.G.S. § 45-21.16(c)(5a). Defendant does not include this information in
its Notice of Intent. (DE 17-1); (DE 1-2 ¶¶ 57, 59).

                                                     11

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311, 314 (N.C. App. 2013) (Where a party is a collection agency, the NCCAA applies; otherwise,

a party must proceed under the NCDCA.).

       Ultimately, however, Plaintiff does not object to the Court dismissing Plaintiff’s NCDCA

claims based upon Defendant’s unequivocal judicial admission—and the Court’s determination—

that Defendant is a “collection agency” under the NCCAA.

C. Plaintiff Alleged Defendant Violated the FDCPA and the NCCAA/NCDCA.

       By contending Plaintiff has failed to allege violations of the FDCPA and NCCAA/NCDCA

((DE 17) pp. 14-15), Defendant again ignores the ample allegations in Plaintiff’s Complaint

establishing two primary violations: (1) Defendant’s Notice of Intent contains false and misleading

representations regarding the deadline for payment of unspecified costs and fees under threat of

foreclosure and sale of consumers’ homes; and (2) the amounts assessed and collected by

Defendant are unlawfully excessive, regardless of whether discovery ultimately shows the charges

are (a) unreasonable attorneys’ fees assessed without requisite required notice and in excess of

statutory caps on attorneys’ fees; or are (b) unlawfully excessive costs with no relationship to the

actual cost of debt collection. Accepting these allegations as true, Plaintiff has stated claims under

15 U.S.C. § 1692e-f, ((DE 1-2) ¶93), N.C.G.S. §§ 58-70-110, 115 ((DE 1-2) ¶101d, j) and, in the

alternative, N.C.G.S. §§ 75-54, 55 ((DE 1-2) ¶107c, g).

   1. The Notice of Intent Is Materially False and Misleading.

       Defendant argues it cannot be liable for attempting to collect attorneys’ fees and other costs

allegedly allowed by the governing documents, and that its Notice of Intent contains no false,

deceptive, or misleading representations, nor any means that could be objectively misleading to

the least sophisticated consumer. (Def.'s Mem. (DE 17) p. 20). However, the Complaint alleges

otherwise, noting the Notice of Intent: “(1) contains a false and arbitrary deadline for payment


                                                 12

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under threat of foreclosure, [creating] a false sense of urgency and [limiting] consumers’ ability to

evaluate and respond to the Notice of Intent;” and (2) demands payment “of unlawful, grossly

excessive, and arbitrary attorneys’ fees and costs that grossly exceeds the amount authorized and

allowed under North Carolina law.” (Compl. (DE 1-2) ¶¶ 4, 95, 101, 107). Again, these claims, if

proven, are plainly actionable.

      a. The Notice of Intent is an Attempt to Collect Debt.

        Defendant utilizes each Notice of Intent sent to Plaintiff and other class members as a means

of collecting debt by, inter alia, demanding payment of debt purportedly secured by a lien on the

consumer’s home; demanding payment of unsecured debt, including collection costs and attorneys’

fees, purportedly owed to the consumers’ respective HOAs; and notifies consumers that the Notice

of Intent “is an attempt to collect a debt.” (Ex. 1 (DE 17-1)). The Notice of Intent represents that

(1) in order “to satisfy the lien(s) you must pay all amounts due to the Creditor [within 30 days];”

and (2) “failure to satisfy the debt secured by the lien(s) [within 30 days] may result in the sale of

the Property.” (Id.). Plaintiff alleges these representations are false and misstate North Carolina

law. (Compl. (DE 1-2) ¶¶ 95, 101, 107).

      b. Deadlines in the Notice of Intent are Materially False and Deceptive.

        Contrary to the thirty-day deadline outlined in the Notice of Intent where “failure to pay

may result in the sale of the property,” it is impossible for the upset bid period to expire thirty days

from the date Defendant sends its Notice of Intent. 13




13
  This is true regardless of whether the PCA applies to Defendant. See Kingston at Wakefield Homeowners
Ass’n v. Castell, 585 Fed. Appx. 837, 840 (4th Cir. 2014) (“even assuming arguendo that the [PCA] is not
the exclusive vehicle by which a [HOA] can enforce a lien for unpaid assessments on a homeowner's
property,” the HOA's theory for lien enforcement must be consistent with the statutory procedure required
by N.C.G.S. § 47F-3-116 (and the corresponding procedure detailed in the governing documents)).

                                                   13

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        Consumers may satisfy a lien and avoid the sale of their property up until the expiration of

the 10-day upset bid period. N.C.G.S. 45-21.27 (“[i]f, prior to the expiration of the upset bid period

…the [homeowner] satisfies the debt secured by [the lien] and pays all expenses and costs incurred

in a filing and enforcing [the lien], including…advertising costs, attorneys’ fees, and the trustee’s

commission, then the trustee shall dismiss the foreclosure action and the [HOA] shall cancel the

claim of lien of record. The [homeowner] shall have all rights…to ensure the [HOA]’s satisfaction

of the claim of lien.”).

        At least 10 days prior to commencing a nonjudicial foreclosure, Defendant would be

required to serve notice of the foreclosure hearing in compliance with N.C.G.S. § 45-21.16(a). If

Defendant served a notice of hearing the day after its Notice of Intent (it did not), then the earliest

hearing date would be at least 11 days (but almost certainly significantly longer) after service of

the Notice of Intent. The consumer would then have 10 days to appeal the clerk of court’s decision.

N.C.G.S. § 45-21.16(c). Then, Defendant would be required to serve the consumer with at least 20

days’ notice of the proposed sale. N.C.G.S. § 45-21.17(4). Then, the consumer would have at least

10 additional days after the date of the proposed sale—the upset bid period–to satisfy the lien and

avoid the sale. N.C.G.S. § 45-21.27(1).

        Thus, even if the court did not account for the appellate period, upset bid period, time

required to obtain service, or implausibility that a hearing and sale could be completed within 30

days, it is materially false to suggest that a lien could not be satisfied or that a consumer’s property

could be sold upon the expiration of the 30-day deadline in the Notice of Intent. Truhn at 192 (A

misrepresentations is “material [if it tends] to give the consumer the false impression[s] that time

[is] of the essence” and “severe consequences could ensue without immediate action. This is

precisely the sort of pressure tactic the FDCPA prohibits.”).



                                                  14

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      c. The Notice of Intent Misleadingly Lumps Attorneys’ Fees and Costs in with the
         Principal Balance.

       Defendant’s Notice of Intent lumps attorneys’ fees and costs in with the principal debt.

(ECF 17-1 (“Amount Secured: $2810.00; Total Owed to Creditor: $6339.00”)). Defendant’s

failure to itemize the attorneys’ fees and costs included in those balances is misleading in violation

of the FDCPA, NCDCA, and NCCAA. (Compl. (DE 1-2 ¶ 95, 101, 107). This is because “it is

misleading under the FDCPA to lump an attorneys’ fees charge in with the principal debt as part

of an account balance in a dunning letter.” Truhn at 191 (citing Singer v. Pierce and Assocs. P.C.,

383 F.3d 596, 598 (7th Cir. 2004); N.C.G.S. § 58-70-115(2).

       The concealment of the amount of attorneys’ fees and costs demanded in the Notice of

Intent is particularly egregious because North Carolina law requires Defendant to “confirm in the

notice, that, within 30 days of the notice, the [consumer] was sent…a detailed written statement of

the amount of principal, interest, and any other fees...” N.C.G.S. §§ 47F-3-116(f)(5) and 45-

21.16(c)(5a). Defendant’s Notice of Intent includes no such confirmation. (Ex. 1 (DE 17-1)).

Moreover, the Notice of Intent itself falls far short of “a detailed written statement of the amount

of principal, interests, and any other fees.” N.C.G.S. § 45-21.16(c)(5a). Rather, the Notice of Intent

demands payment of the “Total Owed to Creditor” without identifying charges included in that

amount. (Ex. 1 (DE 17-1)); (Compl. (DE 1-2) ¶ 74).

   2. Whether Characterized as Attorneys’ Fees or Costs, the Charges Violate the FDCPA
      and NCCAA/NCDCA.

       On or about March 8, 2019, Plaintiff’s account was referred to Defendant with an initial

balance of $199. (Ex. 2 (DE 17-2)). The balance more than doubled three days later with the

assessment of a $270 “Dunning Letter” fee. (Id.). By May 14, the balance exceeded $2,000 with

the addition of a $650 charge for “Post Outreach Lien Enforcement.” (Id.). On September 16,



                                                 15

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Plaintiff was charged $395 for “Lien North Carolina” and $150 for “Attorney Fee for Jorge C.”

(Compl. (DE 1-2) ¶¶ 41-43). 14 On January 20, 2020, Defendant assessed a $3,445 “Foreclosure

Referral Fee,” bringing her initial $199 balance to $6,226. (Id.). Plaintiff paid $782 toward

satisfaction of the debt, including pay-to-pay fees (e.g., fees charged simply for paying amounts

owed), but could not keep up with the ever-increasing fees and costs. (Id.).

       Defendant contends Plaintiff is without a remedy if, as alleged, the costs and attorneys’

fees were unreasonable. (Def.’s Mem. (DE 17) pp. 21-22) However, a party may properly state a

claim under the FDCPA against a debt collector attempting to collect fees that are “unreasonable,

exceed the customary cost for such work, or represent work not actually performed.” See White v.

Fein, Such & Crane, LLP, 2015 WL 6455142 at *5 (W.D.N.Y Oct. 26, 2015).

       Because Defendant unlawfully lumped the charges together, without the benefit of

discovery, it is unclear which of these self-styled charges are “attorney fees,” and which are simply

“costs.” Either way, Plaintiffs have adequately alleged a violation of the FDCPA and

NCCAA/NCDCA. If the charges are attorney fees, they violate North Carolina’s laws regarding

notice and statutory maximums. And if they are costs; Plaintiffs have sufficiently pled the “costs”

are unreasonable and unrelated to the costs of actual debt collection in violation of the FDCPA

and NCCAA/NCDCA.

      a. If the Charges are Attorney Fees, They Violate the FDCPA and NCCAA/NCDCA.

       Plaintiff cannot be liable for attorneys’ fees unless they are (1) provided for by statute, and

(2) reasonable. Furmick v. Miner, 154 N.C. App. 460, 462 (2002). The statutory basis for the

attorneys’ fees at issue here appears to be the PCA. 15



15
  The only other potential basis for attorney fees is N.C.G.S. § 6-21.2, which caps fees at 15% of the
balance owed. N.C.G.S. § 6-21.2 (a creditor or its agent attempting to enforce some “evidence of
indebtedness” that compels “payment of reasonable attorneys’ fees by the debtor” is construed to mean

                                                 16

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    Importantly, the PCA imposes the following limitations on the assessment of attorneys’ fees:

        A [homeowner] may not be required to pay attorneys’ fees and court costs until
        [they are] notified in writing of the [HOA’s] intent to seek payment of attorneys’
        fees, costs, and expenses… The notice shall set out the outstanding balance due as
        of the date of the notice and state that the [homeowner] has 15 days from the mailing
        of the notice by first-class mail to pay the outstanding balance within this period,
        then the lot owner shall have no obligation to pay attorneys’ fees, costs, or
        expenses… If the [homeowner] does not contest the obligation to pay or the validity
        of the amount due on a claim of lien after the 15-day period following notice
        expires, then the attorneys’ fees and the trustee's commission collectively charged
        to the lot owner shall not exceed [$1,200.00], not including costs or expenses
        incurred.

N.C.G.S. § 47F-3-116(f)(12).

        However, Defendant failed to comply with these statutory prerequisites prior to attempting

to collect attorneys’ fees. (Compl. (DE 1-2) ¶¶ 57-60; 74-8; (Ex. 1(DE 17-1)). Moreover, the

charges appearing to reflect attorney fees– e.g., a $3,445.00 “Foreclosure Referral Fee 16—are far

in excess of the amounts allowed by the PCA.

        Without commencing a legal action, Defendant demanded payment from Plaintiff in excess

of $5,000.00 for the following plausible legal services:

    •   Dunning Letter ($270);
    •   Chain of Ownership ($50);
    •   Property Analysis Review ($150);
    •   Post Outreach Lien Enforcement ($650);
    •   Lien North Carolina ($395);
    •   Attorney Fee for Jorge C ($150); and,
    •   Foreclosure Referral Fee ($3,445).

(Ex. 2 (DE 17-2)).




15% of the outstanding balance.). It remains a question of fact whether other items in the ledger were
“attorneys’ fees,” but the $150.00 “Attorney Fee for Jorge C” alone exceeds 15% of the original $314
balance.
16
   The Foreclosure Referral Fee is either an attorneys’ fee in excess of the PCA’s statutory cap, or a
$3,445.00 charge for simply referring the matter to an attorney—a grossly excessive “cost.” Discovery will
reveal the exact violation as to this specific charge.

                                                   17

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       Defendant’s violations with respect to attorneys’ fees are particularly clear with respect to

the September 16, 2019 charges for “Lien North Carolina” and “Attorney Fee for Jorge C,”

because Defendant did not actually prepare or file the lien until on or about November 1, 2019.

(Id.); See Kaymark v. Bank of Am., N.A., 783 F.3d 168, 175-76 (3d Cir. 2015) (abrogated on other

grounds by Obduskey, 139 S. Ct. 1029 (“[C]ourts have interpreted agreements awarding costs for

‘services performed’ and ‘expenses incurred’ to bar collection of fees for ‘not-yet-performed’

services and expenses”); White, 2015 WL 6455142 at *5.

       Defendant cites Fields, Elyazidi, Nix, and Bull for the proposition that “[a] party does not

violate the FDCPA by seeking to collect attorneys’ fees and other costs permitted by governing

documents…” (Def.’s Mem. (DE 17) p. 20). But just as with the unlawful Notice of Intent, while

those cases do affirm that a party can attempt to collect attorneys’ fees and costs from a debtor

without court approval, they do not provide safe harbor for a party attempting to collect

unreasonable fees in a false and deceptive manner. Fields v. Wilber L. Firm, P.C., 383 F.3d 562,

565 (7th Cir. 2004) (The plaintiff could . . . contest the reasonableness of the fees through a

lawsuit.”); Elyazidi v. SunTrust Bank, 780 F.3d 227, 234 (2015) (limiting holding to circumstances

where “the debt collector sought no more than applicable law allowed and explained via affidavit

that the figure was merely an estimate of an amount counsel expected to earn in the course of the

litigation…”); Nix v. McCabe Trotter & Beverly, P.C., 2019 WL 5263277 (D.S.C. Oct. 23, 2018)

(nonbinding decision limiting holding to circumstances where fees and costs were “permitted by

covenants”); Bull v. Asset Acceptance, LLC, 444 F.Supp.2d 946 (N.D.Ind. Aug. 15, 2006)

(nonbinding decision addressing attorneys’ fees requested in a legal filing).

       If Defendant claims the right to attorneys’ fees under the PCA, it misrepresented its legal

authority to Plaintiff and, accordingly, violated the FDCPA and the NCDCA/NCCAA. (Compl.



                                                18

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(DE 1-2) ¶ 74). See White at *5 (“[T]o the extent that the fees sought are unreasonable, exceed the

customary costs for such work, or represent work not actually performed, they are not ‘permitted

by law’ and the attempt to collect such fees would constitute [a] violation of [15 U.S.C. §

1692f(1)].”).

      b. Defendant’s “Costs” are Unreasonable and Unrelated to “Actual Costs.”

       Perhaps understanding that characterizing these charges as attorneys’ fees would violate

the PCA, Defendant calls these charges “costs.” (Def.’s Mem. (DE 17) p. 21). However, even

accepting Defendant’s labeling of these amounts as “costs”—which the record does not support—

the charges violate the FDCPA and NCCAA/NCDCA.

       Defendant acknowledges that even when “the governing documents provide for costs of

collection—without limitation—there is not an unlimited ceiling to do so. Instead, where there is

no limitation on costs, the parties are instead seeking to collect amounts they believe are reasonable

pursuant to the contract, which constitute actual costs of collections.” (Def.'s Mem. (DE 17) p.

21). Courts have interpreted contracts making a debtor responsible for “all costs of collection” as

not authorizing percentage fees unmoored from the actual costs of collection. See Bradley v.

Franklin Collection Serv., Inc., 739 F.3d 606, 609-610 (11th Cir. 2014). In other words, courts

have held “costs” means “actual costs” for services performed. Sparks v. EquityExperts.Org, LLC,

936 F3d 348, 352 (6th Cir. 2019).

       In Sparks, the Eleventh Circuit found it “troubling” that a debt of $220.00 grew to more

than $1,000.00 “in a few months of collection efforts,” but the reasonableness of the fees was not

before the court. Id. at 354. ([The Sparks have not “argued that [Defendant]’s fees were

unreasonably high. Nor have they provided substantial evidence of an understanding between

[Defendant] and the [HOA] that the [HOA] would never actually have to pay the collection fees.



                                                 19

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Had they, this might be a different case.”). Here, unlike Sparks, Plaintiff alleges the amounts

Defendant has attempted to collect are neither “actual” costs of collection nor “reasonable;”

therefore this is the “different case” alluded to by the Eleventh Circuit. Id.

         Plaintiff concedes a debt collector may collect fees and costs if permitted by the governing

documents and applicable law, but that is beside the point. If the charges are costs, Defendant

charged Plaintiff s more than five times the statutory maximum for attorneys to do the same work

($6,000 vs. $1,200). Plaintiff alleged the costs are “unauthorized, grossly excessive, arbitrary,

unconscionable, and/or illegal,” which, if proven by the evidence, violates the FDCPA and

NCCAA/NCDCA (Compl. (DE 1-2) ¶¶ 95, 101, 107).

     3. Plaintiff’s Injuries Are Proximately Caused by Defendants’ Violations of the NCDCA.

         Finally, Defendant claims that Plaintiff has not met her burden of alleging

the “proximate cause” element under the NCDCA, 17and further argues she cannot prove

“damages” for herself or on behalf of the putative class. This is incorrect.

         The North Carolina Supreme Court has specifically confirmed that the NCDCA is a statute

providing “specified statutory damages without requiring the plaintiff to prove actual injury.”

Comm. to Elect Dan Forest v. Emps. Pol. Action Comm., 376 N.C. 558, 605 (2021) (Newby, C.J.,

concurring). Later, the Supreme Court re-affirmed this contention, confirming a class certification

order on debt collection claims similar to the ones alleged in this matter:

        Plaintiffs here allege precisely the type of injury contemplated by this Court in
        Forest above: one that depends not on individualized harm, but on an informational
        injury and a deprivation of statutory rights. Id. ¶ 71; see N.C.G.S. § 75-56(b) (2021)
        (“Any debt collector who fails to comply with any provision of this Article with
        respect to any person is liable to such person in a private action ....”). As a result, the
        collection letters need not have caused each class member a personal, factual injury
        based on his or her subjective reaction to it, but only an informational injury based


17
   Proximate cause is not an element for Plaintiff’s NCCAA claims, which Defendant admits it is subject
to. (Def.’s Mem. (DE 17) p. 17, n. 13).

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      on alleged misrepresentations and misleading information contained in the letters,
      in violation of the statute.

McMillan v. Blue Ridge Companies, Inc., 379 N.C. 488, 496–497 (2021).

       If Defendant sends debt collection letters containing misrepresentations and misleading

information—and the Complaint asserts the Notice of Intent does just that—Defendant would have

violated the NCDCA or NCCAA. The proximate cause requirement is satisfied by virtue of the

sent letters containing misrepresentations. (Compl. (DE 1-2) ¶¶ 55-66) (“Plaintiff read and was

misled by the Notice of Intent which caused confusion, distress, anxiety, and other injury.”).

D. Plaintiff Has Stated a Claim Under the UDTPA Separate and Apart from Debt Collection
   Violations.

       Defendant also argues that Plaintiff’s UDTPA claim is wholly subsumed by Plaintiff’s

unfair debt collection claims. (Def. Mem. (DE 17) p. 14-15). However, “to the extent that the

alleged misconduct is outside the NCDCA, the NCDCA does not foreclose a separate UDTPA

claim.” Thompkins v. Key Health Med. Sols., Inc., No. 1:12CV613, 2015 WL 1292228, at *4

(M.D.N.C. Mar. 23, 2015), report and recommendation adopted, No. 1:12CV613, 2015 WL

3902340 (M.D.N.C. June 24, 2015).

       To state a claim under the UDTPA, Plaintiff must allege: (1) that Defendant engaged in an

unfair or deceptive act or practice; (2) in or affecting commerce, (3) causing injury to the Plaintiff.

See DirectTV, Inc. v. Cephas, 294 F. Supp. 2d 760, 764 (M.D.N.C. 2003); see also N.C.G.S. § 75–

1.1(a). Generally, an act is unfair if it “offends established public policy as well as when the

practice is immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers,”

and is deceptive if “it has the capacity or tendency to deceive.” Norman v. Loomis Fargo & Co.,

123 F. Supp.2d 985, 989 (W.D.N.C. 2000). Allegations of fraud or intent are not required to

establish a prima facie claim based on the UDTPA. Bolton Corp. v. T.A. Loving Co., 94 N.C. App.



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392, 380 S.E.2d 796, 808 (1989). In addition, the concept of “‘unfairness’ is broader than and

includes the concept of ‘deception’” and a plaintiff need not establish the act was both unfair and

deceptive. Id.

       Here, Plaintiff has alleged in detail how Defendant engaged in an unfair scheme with HOAs

to extort unlawful costs and attorneys’ fees from Plaintiff and putative class members:

   •   “Defendant’s business consists of contracting with [HOAs] to aggressively contact and

       attempt to collect debt—including arbitrary fees imposed by Defendant—from members

       of the respective HOAs” (Compl. (DE 1-2) ¶ 2);

   •   “… Defendant colludes with HOAs to set grossly excessive and arbitrary rates to be paid

       by consumers with the explicit or implicit agreement that Defendant will not seek to recoup

       unpaid fees from the respective HOAs” (Id. ¶ 38);

   •   “[An HOA] has the right to enforce its covenants, but Defendant is abusing its authority by

       unfairly and deceptively coercing the payment of arbitrary and grossly excessive fees from

       consumers in this state.” (Id. ¶ 39);

   •   “…Defendant charged all of the unsecured fees directly to Plaintiff and never sought

       recoupment of unpaid fees from [HOAs].” (Id. ¶ 54); and,

   •   “The foregoing unfair or deceptive acts or practices in or affecting commerce directly and

       proximately cause Plaintiff and all others similarly situated anxiety, stress, anger,

       frustration, mental anguish and other actual damages to be proved at trial.” (Id. ¶ 118).

       The foregoing allegations implicate Defendant’s method and practice of colluding with

HOAs to establish grossly excessive and abusive collection costs and are akin to those asserted in

In re Freeway Foods of Greensboro, Inc., 467 B.R. 853, 866 (Bankr. M.D.N.C. 2012) (the




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“Freeway Foods MTD Order”) 18. There, an individual creditor (“Walter”) owned real property

where a Waffle House restaurant franchise was operated by another company (“YSI”). Essentially,

Walter alleged defendants “devised a scheme [using] misrepresentations and duress…to coerce

her into granting rent concessions” required to maintain Waffle House as a tenant. Id., 467 B.R. at

866; Freeway Foods Remand Order, 449 B.R. at 871. The defendants argued Walter merely

alleged a breach of contract, which is insufficient to support a UDTPA claim (here, EquityExperts

is arguing Plaintiff’s claims are solely related to debt collection), but the court disagreed finding

the “breach of the lease is merely the result of the larger scheme of unfair and/or deceptive acts

that Walter alleges.” Id. at 867 (emphasis added); see further, Thompkins 2015 WL 1292228, at

*3 (circumstances surrounding a loan and the collection thereof were sufficient to state a claim

under both the NCDCA and the UDTPA when the allegations “arguably fall outside the scope of

the NCDCA.”). 19

        Because these unfair and deceptive acts and practices pertain to Defendant’s business

dealings—not its attempts to collect debt—Plaintiff’s claims under the UDTPA are not precluded

by the NCDCA or the NCCAA.

E. Defendant Has Been Unjustly Enriched at Plaintiff’s Expense.

        To prevail on a theory of quantum meruit or unjust enrichment, Plaintiff “must show three

elements: (1) plaintiff conferred a measurable benefit to defendant, (2) defendant knowingly and

voluntarily accepted the benefit, and (3) the benefit was not given gratuitously.” Jones v. Am.


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   The facts were incorporated by reference in the Courts previous Order Denying Plaintiff’s Motion to
Remand. In re Freeway Foods of Greensboro, Inc., 449 B.R. 860, 870-873 (Bankr. M.D.N.C. 2011).
19
   Moreover, in DirectTV, the court found DirectTV’s “attempt to use the NCDCA’s exclusive remedy
protection as a shield against liability from the UDTPA” was barred because “any obligation due from
Cephas would not be a debt under the NCDCA.” DirectTV at 765. Here, Defendant has similarly argued
that its Notice of Intent is not an attempt to collect debt subject to the NCDCA or the NCCAA. Thus, even
Plaintiff’s UDTPA claims predicated upon debt collection should survive so long as Defendant contends
its Notice of Intent was not an attempt to collect debt under the NCDCA or the NCCAA. Id.

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Airlines, Inc., No. 5:08-CV-236-BR, 2008 WL 9411160, at *5 (E.D.N.C. 2008) (citing Booe v.

Shadrick, 322 N.C. 567, 570 (1988)). The court has described unjust enrichment as:

       the result or effect of a failure to make restitution of, or for, property or benefits
       received under such circumstances as to give rise to a legal or equitable obligation
       to account therefor. It is a general principle underlying various legal doctrines and
       remedies, that one person should not be permitted unjustly to enrich [themselves]
       at the expense of another.

Jones at *5–6 (internal citations omitted).

       The remedy “is not aimed at compensating the plaintiff, but at forcing the defendant to

disgorge benefits that it would be unjust for him to keep.” Booher v. Frue, 86 N.C. App. 390, 393

(quoting D. Dobbs, Law of Remedies § 4.1, at 224 (1973)).

       Plaintiff alleged that she and putative class members have conferred monetary benefits

(e.g., payment of illegal costs and attorneys’ fees) that Defendant knowingly accepted, and which

were not provided gratuitously. (Compl. (DE 1-2) ¶¶ 122-125). Plaintiff alleged that these unlawful

costs and attorneys’ fees were paid by Plaintiff and putative class members and received by

Defendant under circumstances that make it inequitable for Defendant to retain those amounts.

(Id., Costs and attorneys’ fees were demanded under threat of foreclosure—which Defendant had

no right to do in the manner threatened). See Rhue v. Rhue, 189 N.C. App. 299 (2008) (“The

doctrine of unjust enrichment was devised by equity to exact the return of, or payment for, benefits

received under circumstances where it would be unfair for the recipient to retain them without the

contributor being repaid or compensated.”).

       Defendant has not disputed the adequacy of the pleadings in this respect. Instead,

Defendant appears to contend that, because Plaintiff has a contract with “the Association, who

holds the operative contract;” her only remedy is contractual. (Def.’s Mem. (DE 17) p. 16).

Simultaneously, however, Defendant states Plaintiff has not “properly pled [breach of contract],



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nor can she where there is no privity of contract.” (Id. n. 14). Plaintiff agrees with the “well-

established principle that an express contract precludes an implied contract.” (Id. p. 15). For

example, Plaintiff would almost certainly be precluded from an unjust enrichment claim against

the HOA for matters governed by their contract; but Plaintiff has not alleged—and Defendant is

not contending—that a contract controls the relationship between Plaintiff and Defendant.

Therefore, Plaintiff’s claims for unjust enrichment against Defendant are not precluded.

II.       DEFENDANT’S MOTION TO STRIKE PURSUANT TO FED. R. CIV. P. 12(f)
          MUST BE DENIED.

      1. Motions to Strike Class Allegations are Generally Disfavored.

          The Fourth Circuit has repeatedly declared that “federal courts should ‘give Rule 23 a

liberal rather than a restrictive construction, adopting a standard of flexibility in application which

will in the particular case best serve the ends of justice for the affected parties and…promote

judicial efficiency.’” Gunnells v. Healthplan Servs., 348 F.3d 417, 424 (4th Cir. 2003) (internal

citation omitted). A motion to dismiss a complaint’s class allegations should be granted only if “it

is clear from the face of the complaint that the plaintiff cannot meet Rule 23’s requirements for

certification because the plaintiff has failed to properly allege facts sufficient for a class.” Hogans

v. Charter Communs., Inc., 563 F. Supp 3d 464, 472 (E.D.N.C. 2021).

          Defendant claims that, even under the low standard required at the pleading stage, Plaintiff

has not properly satisfied her burden of showing commonality and superiority. (Def.'s Mem. (DE

17) pp. 23-25).

      2. Plaintiff’s Class Allegations are Sufficient Under Fed. R. Civ. P. 23.

          Rule 23 prescribes a two-part test for determining whether a putative class action should

be certified. See Fed. R. Civ. P. 23(a) and (b). First, the plaintiff must satisfy four threshold

requirements: numerosity, commonality, typicality, and adequacy. Fed. R. Civ. P. 23(a). Second,

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the plaintiff must meet one of the three subsections of Rule 23(b); here, Rule 23(b)(3):

predominance and superiority. Fed. R. Civ. P. 23(b)(3).

         a. Commonality is Satisfied.


         Commonality requires the existence of “questions of law or fact common to the class.” Fed

R. Civ P. 23(a)(2). Plaintiffs must “demonstrate that…class members have suffered the same

injury,” and that the injury can be redressed class-wide so as “to generate common answers apt to

drive the resolution of the litigation.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

The “threshold requirements of commonality and typicality are not high. Rule 23(a) requires only

that resolution of the common questions affect all or a substantial number of the class members.”

Brown v. Nucor, 576 F.3d 149, 153 (4th Cir. 2009). Rule 23(a)(2) requires only one common

question for a potential class. Cerrato v. Durham Pub. Schs. Bd. of Educ., No.1:16-CV-1431, 2017

WL 2983301, at *3 (M.D.N.C. 2017) (quoting Haywood v. Barnes, 109 F.R.D. 568, 577 (E.D.N.C.

1986).

         Defendant claims, without any basis, that commonality is inappropriate because “it would

be impossible to assess whether that conduct violated the law, as alleged, without an individualized

examination of each homeowners’ account, their subjective reaction to the allegedly offensive

behavior, and also whether any fees were ‘unreasonable.’” (Def.'s Mem. (DE 17) p. 25). This

contention is false.

         Regarding the Notice of Intent Class, the Notice of Intent Letters are alleged to be

materially identical and sent to all Notice of Intent Class Members under the same or similar

circumstances. 20 (Compl. (DE 1-2) ¶¶ 30-32). The common issue here is whether Defendant’s



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  Defendant repeatedly attempts to expand its 12(b)(6) motion by alleging factual assertions outside of the
scope of the complaint; for example, “there are variances in all of the governing documents that any

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pattern, practice, and policy of collecting and/or attempting to collect debt using the Notice of

Intent Letter violate the FDCPA and the NCCAA/NCDCA by threatening foreclosure without any

lawful basis. Regarding the Collection and Fee Classes, the common issue is whether the threat of

assessing and collecting unlawful costs and attorneys’ fees constitutes a violation of the FDCPA

and the NCCAA/NCDCA. The answers to these questions will form the foundation for resolution

of class claims. See Dukes at 350 (commonality is satisfied when answers to common questions

will resolve an issue “central to the validity of each…claim…in one stroke.”).

        Accordingly, commonality is satisfied.

        b. Class Treatment is Superior.

        Rule 23(b)(3) asks whether proceeding as a class action is superior to other available

methods of resolution. Four factors are relevant: (a) the interests of class members individually

controlling the prosecution or defense of separate actions; (b) the extent and nature of any litigation

concerning the controversy already commenced by or against members of the class; (c) the

desirability of concentrating the litigation of the claims in the particular forum; and (d) the

difficulties likely to be encountered in the management of a class action. Fed. R. Civ. P. 23(b)(3).

        All superiority factors weigh in favor of class treatment. For the first two factors, Plaintiff’s

counsel is not aware of any cases against Defendant in North Carolina with similar allegations.

Absent a class action, putative class members would not have effective and efficient means of

representing their interests. For the third factor, it is substantially more desirable to concentrate the

litigation as a class action given the uniformity of Defendant’s debt collection practices in North

Carolina. The duplication of effort would increase burdens and create uncertainty for all parties,

and waste judicial resources. For the fourth factor, there are no unique difficulties in managing this


association is governed by.” (DE 17) p. 24). This attempted expansion is improper. See e.g., E.I. du Pont
de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011).

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case as a class action. The vast majority of Plaintiff’s claims rest on issues of law with minimal

evidentiary factual determinations, and any evidentiary factual determinations are applicable on a

class-wide basis without needing individual determinations.

        Rather than substantively addressing the actual factors Courts are authorized to consider,

Defendant finds two uncited and unpublished district court opinions for the proposition that certain

claims may not meet the superiority requirement when the defendant’s liability would be enormous

and completely out of proportion to any harm suffered by the plaintiff. (Def.'s Mem. (DE 17) p.

23) (citing Spikings v. Cost Plus, Inc., 2007 U.S. Dist. Lexis 44214 (C.D. Cal. 2007), and Torossian

v. Vitamin Shoppe Industries, 2007 U.S. Dist. Lexis 81961 (C.D. Cal. 2007)). This is a flawed

argument.

        First and foremost, the Supreme Court rejected such an assertion about the impact of class

action damages. See Reiter v. Sonotone Corp., 442 U.S. 330, 344-45 (1979) (“These [arguments]

are not unimportant…but they are policy considerations more properly addressed to Congress than

to this Court.”). 21 As recognized by the leading treatise on class actions, “Rule 23's superiority

prong focuses on the forms of adjudication, not their financial consequences” and “it arguably

violates the judicial function for a court to supply a limit that the legislature has not.” Rubenstein,

2 Newberg on Class Actions § 4:81 (5th ed.).

        Secondly, Defendant’s argument ignores ample authority holding that statutory damages

and a provision for attorneys’ fees does not defeat superiority. 22


21
   Indeed, it is bad policy when defendants who wrong people in a systematic fashion are insulated from
liability. See Rubenstein, 2 Newberg on Class Actions § 4:81 (5th Ed.).
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   See e.g., Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997) (“True, the FDCPA allows for
individual recoveries of up to $1000. But this assumes that the plaintiff will be aware of her rights, willing
to subject herself to all the burdens of suing, and able to find an attorney willing to take her
case.”); Tchoboian v. Parking Concepts, Inc., 2009 WL 2169883 at *9 (C.D. Cal. 2009) (“The Court is not
convinced that [possible recovery of] attorneys’ fees in addition to statutory damages of up to $1,000 will
result in enforcement of the FCRA by individual actions of a scale comparable to the potential enforcement

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        Third, Defendant’s cited cases are far from the statutory damages at issue and are altogether

distinguishable on this basis alone. In Spikings, the defendant faced statutory penalties ranging

from $340 million to $3.4 billion for merely trivial violations of the Fair and Accurate Transactions

Act (“FACTA”) by including “the expiration date on credit card and debit card receipts.” Spikings

2007 U.S. Dist. LEXIS 44214 at *12-13. Moreover, the plaintiff admitted no one sustained actual

damage or harm due to the alleged wrongful conduct. Id. at *12. Torossian also involved a plaintiff

seeking between $22.7 million and $227 million in statutory damages for technical violations of

the FACTA, even though the company’s securities filings reflected only $31 million in equity and

$161 million in total assets. Torossian, 2007 WL 7648594, at *4. Here, the damages sought are

not wholly untethered from the reality of the harm suffered.

        Finally, even if the statutory damages requested by Plaintiff were somehow excessive (they

are not), Defendant’s argument is premature. Without discovery, any argument that the potential

damages outweigh the actual harm is pure speculation. 23 Moreover, this Court has the authority

under the NCDCA (see N.C.G.S. § 75-56(b)) or the NCCAA (see N.C.G.S. § § 58-70-130) to set

damages within the statutory range reflecting Defendant’s conduct and its relationship to the class

members. Thus, concerns about the statutory damages’ severity are more appropriately addressed

in the damages phase. See Mohamed v. Off Lease Only, Inc., 320 F.R.D. 301, 318 (S.D. Fla. 2017).


by way of class action.”); White v. E-Loan, Inc., 2006 WL 2411420 at *9 (N.D. Cal. 2006) (“[W]ithout
class actions, there is unlikely to be any meaningful enforcement of the FCRA by consumers whose rights
have been violated. Moreover, given that thousands of consumers may have suffered identical injury, a
class action is certainly the most efficient way to adjudicate disputes over those consumers' rights”); Walker
v. Calusa Investments, LLC, 244 F.R.D. 502, 511 (S.D. Ind. 2007) (Noting that “many class members may
be unaware of their claim. Alternatively, some of those members may not feel that it is worth the effort to
file an individual suit seeking statutory damages of between $100.00 and $1000.00.”); Braxton v. Farmer's
Ins. Group, 209 F.R.D. 654, 662 (N.D. Ala. 2002), aff'd, 91 Fed. Appx. 656 (11th Cir. 2003) (quotation
omitted) (“[T]he cost of investigating and trying these cases individually likely exceeds the value of any
statutory and/or punitive damage award that may be due to any particular class claimant.”).
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   Even more baseless are the spurious allegations that “Plaintiff’s attorneys are incentivized to instigate the
litigation because they have a far greater interest and stake in certification of a class than Plaintiff or the
putative class.” ((DE 17) p. 24).

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                                         CONCLUSION

       WHEREFORE, Defendant’s Motion should be DENIED because each cause of action has

been adequately and plausibly alleged.



       Respectfully submitted, this the 2nd day of November, 2022.



                                                   MAGINNIS HOWARD

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                                 CERTIFICATE OF SERVICE
       I hereby certify that I electronically filed the foregoing PLAINTIFF’S RESPONSE IN

OPPOSITION TO DEFENDANT’S MOTION TO DISMISS ALL CLAIMS, OR, IN THE

ALTERNATIVE, TO STRIKE CLAIMS with the Clerk of Court using the CM/ECF system,

which sent notification of the filing to all counsel of record.



       This the 2nd day of November, 2022.
                                                       /s/ Asa C. Edwards
                                                       Asa C. Edwards




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